                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )           No. 3:02-00053
                                              )           JUDGE CAMPBELL
RANDALL R. PARKER                             )

                                           ORDER

       Pending before the Court is Defendant’s Motion to Extend Brief Filing Deadline (Docket

No. 834). The Motion is GRANTED.

       Counsel for Defendant shall have until December 5, 2014, to file any supplemental briefs

and the Government shall have until December 29, 2014 to file any response.

       It is so ORDERED.




                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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